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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CV-14102-MIDDLEBROOKS

    DONALDJ. TRUMP,

          Plaintiff,

    V.

    HILLARY R. CLINTON, et al.,

           Defendants.
    - - - - - - - - - - - - - - - - - -I
                 ORD ER GRANTING PLAINTIFF'S EXPEDITED MOTION FOR
                               AN EXTENSION OF TIME

           THIS CAUSE is before the Court on Plaintiffs "Expedited Motion for an Extension of

    Time to File an Amended Complaint as a Matter of Course or to Response [sic] to Hillary Clinton's

    Motion to Dismiss," filed on April 21, 2022. (DE 66). The Motion is not opposed.

           Because several Defendants have requested extensions of time to respond to the Complaint,

    which Plaintiff has not opposed, Plaintiff now requests "an extension of 39 days to either file an

    Amended Complaint, as a matter of course, pursuant to Rule 15 (a) or to file a Response to Hillary

    Clinton's Motion to Dismiss." (DE 66 at    ,r 10). While I am not persuaded that I can change the
    time frame to amend "as a matter of course" under Rule 15 (a)( 1)-a deadline that is prescribed by

    the Federal Rules-Rule 15(a) provides another avenue for amendment: Rule 15(a)(2). Under Rule

    15(a)(2), a party may amend its pleading with the court's leave, and "[t]he court should freely give

    leave when justice so requires." Here, because of the extensions sought by Defendants and in the

    interest of allowing Plaintiff to cure any deficiencies in an efficient manner, I will grant Plaintiff

    until June 20, 2022 to amend his Complaint or respond to Defendant Clinton's Motion to Dismiss.
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          Accordingly, itis ORDERED AND ADJUDGED that:

          (1) Plaintiffs Motion for an Extension of Time (DE 66) is GRANTED.

          (2) Plaintiffs deadline to amend his Complaint or respond to Defendant Clinton's Motion

             to Dismiss is extended to June 20, 2022.

          SIGNED in Chambers at West Palm Beach, Florida this 28




                                                            United States District Judge
    cc:   Counsel of Record




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